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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                    CIVIL MINUTES - GENERAL
    Case No.     SACV 08-1236-AG(MLGx)                                     Date   September 2, 2009
    Title        CHARLES MICHAEL BINKS v DSL.NET, INC., ET AL


    Present: The Honorable       ANDREW J. GUILFORD, U.S. DISTRICT JUDGE
               Lisa Bredahl                               None Present
               Deputy Clerk                        Court Reporter / Recorder               Tape No.
             Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:


    Proceedings:              [IN CHAMBERS] ORDER TO SHOW CAUSE RE
                              DISMISSAL FOR LACK OF PROSECUTION

On May 1, 2009, attorney Harrison Long requested to substitute in for plaintiff. However, no
proposed order was lodged with the Court and the document was not efiled. The Court
GRANTS the application to substitute Harrison Long in as counsel of record.

The Court on its own motion, hereby ORDERS Plaintiff(s) to show cause in writing no later
than September 18, 2009 why this action should not be dismissed for lack of prosecution.
Alternatively, it will be a sufficient response to this OSC to file on or before the OSC date in
this paragraph one of the following:

•           A proof of service of the summons and complaint on defendant(s);
•           Papers seeking entry of default or a default judgment;
•           Answers or other filings by the defendant(s).

Absent a showing of good cause, an action shall be dismissed if the summons and complaint
have not been served upon all defendants within 120 days after the filing of the complaint.
Fed. R. Civ. P. 4(m). And, if the action has not been diligently prosecuted, the Court may
dismiss the action before the expiration of such time.

Plaintiff(s) have the responsibility to respond promptly to orders and to prosecute the action
diligently, including filing proofs of service and stipulations extending time. Stipulations
affecting the progress of the case must be approved by the Court. Local Rule 7-1.




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NO oral argument of this matter will be heard unless ordered by the Court. The Order will
stand submitted upon the filing of a responsive pleading or motion on or before the date
upon which a response by plaintiff(s) is due.



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                                                 Initials of Preparer
                                                                        lmb




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